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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                                  Chapter 11
                                                 1
 Prime Core Technologies Inc., et al.,
                                                                  Case No. 23-11161 (JKS)
                                                 Debtors.
                                                                  (Jointly Administered)


                                  SUPPLEMENTAL AFFIDAVIT OF SERVICE

        I, Monica Arellano, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

        On or before December 4, 2023, at my direction and under my supervision, employees of
Stretto caused the following documents to be served via first-class mail on fifteen (15) confidential
parties not included herein, pursuant to USPS forwarding instructions:

     •     Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
           Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
           Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
           and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
           a Combined Hearing for Final Approval of the Adequacy of Information in the
           Disclosure Statement and Confirmation of the Plan (Docket No. 265)

     •     Notice of Amendment to Confirmation Schedule (Docket No. 367)

       Furthermore, on or before December 11, 2023, Stretto in accordance with USPS
forwarding instructions served the following document via first-class mail on twelve (12)
confidential parties not included herein:

     •     Notice of Amendment to Confirmation Schedule (Docket No. 367)

       Furthermore, on or before December 11, 2023, Stretto in accordance with USPS
forwarding instructions served the following documents via first-class mail on fifteen (15)
confidential parties not included herein:

     •     Notice of Bar Dates for Filing Proofs of Claim (Docket No. 185)

     •     Notice of Bar Dates for Administrative Expense Claims (Docket No. 186)

     •     [Customized] Official Form 410 Proof of Claim Form (attached hereto as Exhibit A)

     •     Instructions for Proof of Claim (attached hereto as Exhibit B)
______________________________________________
1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
(4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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       Furthermore, on or before December 12, 2023, at my direction and under my supervision,
employees of Stretto caused the following documents to be served via first-class mail on three (3)
confidential parties not included herein, pursuant to USPS forwarding instructions:

   •   Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and Its
       Affiliated Debtors (Docket No. 258)

   •   Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code with Respect
       to the Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and
       Its Affiliated Debtors (Docket No. 259)

   •   Order (I) Approving the Disclosure Statement on an Interim Basis for Solicitation
       Purposes Only; (II) Establishing Procedures for Solicitation and Tabulation of Votes
       to Accept or Reject the Plan; (III) Approving the Form of Ballot and Solicitation
       Packages; (IV) Establishing the Voting Record Date; (V) Scheduling a Combined
       Hearing for Final Approval of the Adequacy of Information in the Disclosure
       Statement and Confirmation of the Plan; and (VI) Granting Related Relief
       (Docket No. 264, pages 1-14)

   •   Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan (Docket No. 265)

   •   Amendment to Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan; and (VI) Granting Related Relief
       (Docket No. 362)

   •   Notice of Amendment to Confirmation Schedule (Docket No. 367)

   •   [Customized for Class 3B] Ballot to Accept or Reject the Debtors’ Chapter 11 Plan
       (attached hereto as Exhibit C)

       Furthermore, on or before December 12, 2023, at my direction and under my supervision,
employees of Stretto caused the following documents to be served via first-class mail on three (3)
confidential parties not included herein, pursuant to USPS forwarding instructions:

   •   Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and Its
       Affiliated Debtors (Docket No. 258)
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   •   Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code with Respect
       to the Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and
       Its Affiliated Debtors (Docket No. 259)

   •   Order (I) Approving the Disclosure Statement on an Interim Basis for Solicitation
       Purposes Only; (II) Establishing Procedures for Solicitation and Tabulation of Votes
       to Accept or Reject the Plan; (III) Approving the Form of Ballot and Solicitation
       Packages; (IV) Establishing the Voting Record Date; (V) Scheduling a Combined
       Hearing for Final Approval of the Adequacy of Information in the Disclosure
       Statement and Confirmation of the Plan; and (VI) Granting Related Relief
       (Docket No. 264, pages 1-14)

   •   Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan (Docket No. 265)

   •   Amendment to Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan; and (VI) Granting Related Relief
       (Docket No. 362)

   •   Notice of Amendment to Confirmation Schedule (Docket No. 367)

   •   [Customized for Class 3B] Ballot to Accept or Reject the Debtors’ Chapter 11 Plan
       (attached hereto as Exhibit C)

   •   [Customized for Class 4] Ballot to Accept or Reject the Debtors’ Chapter 11 Plan
       (attached hereto as Exhibit D)

       Furthermore, on or before December 12, 2023, Stretto in accordance with USPS
forwarding instructions served the following documents via first-class mail on twenty-five (25)
confidential parties not included herein:

   •   Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan (Docket No. 265)

   •   Notice of Amendment to Confirmation Schedule (Docket No. 367)
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                    Exhibit A
                               Case 23-11161-JKS                       Doc 630             Filed 12/20/23                 Page 6 of 32
Fill in this information to identify the case:

Name of Debtor & Case Number:
D      Prime Core Technologies Inc. (Case No. 23-11161)
D      Prime Trust, LLC (Case No. 23-11162)
□      Prime IRA LLC (Case No. 23-11164)
D      Prime Digital, LLC (Case No. 23-11168)

United States Bankruptcy Court for the District of Delaware


 Official Form 410
 Proof of Claim                                                                                                                                               04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of
 administrative expenses arising under 11 U.S.C. §503(b)(9), do not use this form to make a request for payment of an administrative expense.
 Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

             Identify the Claim

1. Who is the current
    creditor?
                                Name of the current cre<litor (the person or entity to be paiel for this daim}
                                Other names the creelitor useel with the Clebtor

2. Has this claim been
    acquired from
                                0 No
    someone else?               D Yes. From whom?
3. Where should notices         Where should notices to the creditor be sent?                                Where should payments to the creditor be sent? (if
    and payments to the                                                                                      different)
    creditor be sent?
    Federal Rule of             Name                                                                         Name
    Bankruptcy Procedure
    (FRBP) 2002(g)
                                Number          Street                                                       Number         street

                                City                               state                   ZIPCO<le          City                         State               ZIPCoele

                                Contact phone                                                               Contact phone

                                Contact email                                                               Contact email



                                Uniform claim ielentifier for electronic payments in chapter 13 (if you use one):
                               ------------------------

4. Does this claim amend        0 No
    one already filed?          D Yes. Claim number on court claims registry (if known) __                                           Filed on
                                                                                                                                                  MM I DD   / yyyy



5. Do you know if anyone        0 No
    else has filed a proof
    of claim for this claim?
                                D Yes. Who made the earlier filing?



    Official Form 410                                                      Proof of Claim                                                                            page 1
                          Case
            Give Information    23-11161-JKS
                             About the Claim as of theDoc
                                                       Date630    Filed
                                                            the Case Was12/20/23
                                                                         Filed                      Page 7 of 32

6. Do you have any number      O No
   you use to identify the     O Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: -- -- -- --
   debtor?

7a. How much is the claim?       $____________. Does this amount include interest or other charges?
                                                                      0 No
                                                                      0 Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                             charges required by Bankruptcy Rule 3001(c)(2)(A)

7b. List the number of each type of coin held in your account as of the date the case was filed.

  ARPA Chain________________________               Celo________________________________              Global Business System Token__________
  Balancer____________________________             Celo Dollar__________________________             GMO Japanese Yen___________________
  Band Protocol________________________            Celsius______________________________             Goerli USDC ________________________
  DuDe Peoples Money__________________             ChiliZ______________________________              Graph Token_________________________
  Quant_______________________________             Circuits of Value______________________           Harmony ONE_______________________
  $USDCDrop.com_____________________               Civic_______________________________              Hedera Hashgraph_____________________
  Tether USD__________________________             Co2Bit Carbon Token__________________             HEX_______________________________
  1INCH______________________________              CoinFlex Vote Token__________________             Hillstone.Finance_____________________
  7EVEN Utility Token__________________            Compound___________________________               HOLO______________________________
  Aave Interest Bearing DAI______________          Compound DAI_______________________               Hong Kong Token_____________________
  Aave Interest Bearing ETH______________          Compound Ether______________________              HyFi_______________________________
  Aave Interest Bearing TUSD____________           Compound USD Coin__________________               IDEX Token_________________________
  AAVE Token________________________               Compound Wrapped BTC______________                Internet of Things 5th-Generation________
  Adventure Gold_______________________            Cosmos Hub_________________________               Inverse Finance_______________________
  AGX Coin___________________________              COTI_______________________________               IoTeX______________________________
  AGX COIN (AVAX) __________________               Crescent Network_____________________             JiuLove_____________________________
  Alchemix____________________________             Crypto Perx__________________________             Kard Coin___________________________
  Alchemy Pay_________________________             Crypto20____________________________              Keep Token__________________________
  Algorand____________________________             cTether_____________________________              Kusama_____________________________
  Amber______________________________              Curve DAO Token____________________               Kyber Network_______________________
  AMP Token__________________________              Dai_________________________________              Kyber Network Crystal v2______________
  Ampleforth__________________________             Dalarnia_____________________________             LCX________________________________
  Ampleforth Governance________________            DAO Maker_________________________                Lendingblock________________________
  Andrey Voronkov Ventures Promo_______            Dash_______________________________               LINK_______________________________
  Ankr Network________________________             Decentraland_________________________             Litecoin_____________________________
  API3_______________________________              DeFi Pulse Index______________________            Livepeer____________________________
  Arbitrum____________________________             DerivaDAO__________________________               LODE Token_________________________
  Audius______________________________             DigitalBits___________________________            Loopring____________________________
  Augur______________________________              Digitalbits___________________________            Lottery Tickets_______________________
  AUX Coin___________________________              Dogecoin____________________________              Lumens_____________________________
  Aux Coin____________________________             Drep________________________________              Maker______________________________
  Avalanche___________________________             dYdX Token_________________________               Marlin POND________________________
  Aventus_____________________________             eCash_______________________________              MATH______________________________
  Axie Infinity Shard____________________          Ellipsis_____________________________             Matic_______________________________
  B21 Token___________________________             Enjin Coin___________________________             Matic Gas Token______________________
  BADGER___________________________                EOS________________________________               Matic Token_________________________
  Bancor______________________________             Ethereum____________________________              MCO2______________________________
  Basic Attention Token_________________           Ethereum Classic Test__________________           Melon______________________________
  Binance Beacon ETH__________________             Ethereum Name Service________________             Mero Currency_______________________
  Binance Coin_________________________            EURST_____________________________                MIR Protocol________________________
  Binance USD________________________              Fake USDC Token ____________________              Monavale___________________________
  Binance-Peg Filecoin__________________           Fantom_____________________________               MonkeyCoin_________________________
  Binance-Peg Tether____________________           FingerPrint__________________________             MultiVAC___________________________
  Binance-Peg USD Coin________________             FLEX Coin__________________________               MyNeighborAlice_____________________
  Bitcoin______________________________            flexUSD____________________________               NEAR Protocol_______________________
  Bitcoin Cash_________________________            Frax________________________________              Numeraire___________________________
  Bitcoin SV___________________________            FTX Token__________________________               OK Blockchain_______________________
  Bitfinex LEO Token___________________            FXtrading___________________________              OmiseGO___________________________
  BitRewards__________________________             Gala________________________________              Optimistic Ethereum___________________
  Bluzelle_____________________________            Gala V2_____________________________              Orchid______________________________
  Carbon USD_________________________              Game.com___________________________               PancakeSwap Token___________________
  Cardano_____________________________             Gemini Dollar________________________             PARSIQ____________________________
  Cartesi Token________________________            Gitcoin______________________________             Pax Dollar___________________________
  CelerToken__________________________             Glo Dollar___________________________             Paxos Standard_______________________

 Official Form 410                                             Proof of Claim                                                                page 2
 Perpetual Protocol______________  Sheesha Finance_______________
                             Case 23-11161-JKS           Doc 630                  TestToken____________________
                                                                                   Filed 12/20/23 Page 8 ofUSD        32Velero___________________
 PlayDapp_____________________     Shiba Inu_____________________                 Tether (Omni) _________________   USDC (Avalanche)_____________
 Polkadot______________________    Silverway____________________                  Tether USD___________________     USDK_______________________
 PolkastarterToken______________   Solana_______________________                                                    Wrapped Bitcoin_______________
                                                                                  Tezos________________________
                                                                                                                    Wrapped ROSE _Wormhole______
 Power Ledger_________________     SPELL_______________________                   Toucan Protocol________________ Wrapped RVN________________
 Project Galaxy_________________   Spera________________________                  TRIBE________________________ Wrapped UST Token___________
 Qubit________________________     Stable Coin USD_______________                 Tron_________________________     XRP_________________________
 Radicle______________________     StableUSD____________________                  TrueUSD_____________________      XY Oracle_____________________
 Rai Reflex Index_______________   StaFi________________________                  Tuition Coin Polygon____________  Yearn Finance__________________
 Rarible______________________     Storj_________________________                                                   ZRX_________________________
                                                                                  UKR Chain____________________
                                                                                                                    Zytara USD___________________
 Recover Value USD____________     SUPER______________________                    UMA_________________________      Other________________________
 REN________________________       SushiToken___________________                  Unbanked Token________________
 Request_____________________      SushiToken (Solana) ___________                Uniswap______________________
 RNDR_______________________       Switch_______________________                  USD Coin_____________________
 Sai Stablecoin v1.0 (SAI)________ Synthetix Network Token________                USD Coin (Fantom)_____________
 SAND_______________________       Terra Classic Luna_____________                USD Coin (Polygon)_____________
 Sense_______________________      Terra Classic USD_____________                 USD Coin (Solana)______________
 Shaggy Coin__________________     Terra Luna 2.0________________                 USD Coin (Stellar)_______________

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim   O No
   secured?                      0 Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                           0 Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                          Attachment (Official Form 410-A) with this Proof of Claim.
                                           0 Motor vehicle
                                           0 Other. Descr be:


                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.}


                                           Value of property                             $_______
                                           Amount of the claim that is secured:          $________

                                           Amount of the claim that is unsecured: $________ (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $_________



                                           Annual Interest Rate (when case was filed) ___%
                                           0 Fixed
                                           0 Variable


10. Is this claim based on a     O No
    lease?
                                 0 Yes. Amount necessary to cure any default as of the date of the petition.                  $_________


11. Is this claim subject to a   0 No
    right of setoff?
                                 0 Yes. Identify the property __________________________




 Official Form 410                                                   Proof of Claim                                                                      page 3
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                    Exhibit B
                          Case 23-11161-JKS                 Doc 630   Filed 12/20/23       Page 11 of 32




Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                                12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                               A Proof of Claim form and any attached documents
                                                                          must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the                number, individual’s tax identification number, or
   date the case was filed.                                               financial account number, and only the year of any
                                                                          person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                        For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                       full name and address of the child’s parent or
   then state the identity of the last party who owned the                guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred               Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                          Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the          Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                       To receive confirmation that the claim has been filed, either
   definition of redaction on the next page.)
                                                                       enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show              form or go to https://cases.stretto.com/primetrust
   perfection of any security interest or any assignments or
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
                                                                       Understand the terms used in this form
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                       Administrative expense: Generally, an expense that arises
                                                                       after a bankruptcy case is filed in connection with operating,
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                       liquidating, or distributing the bankruptcy estate.
                                                                       11 U.S.C. § 503.

 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care                 Claim: A creditor’s right to receive payment for a debt that
   information. Leave out or redact confidential                        the debtor owed on the date the debtor filed for bankruptcy.
   information both in the claim and in the attached                    11 U.S.C. §101 (5). A claim may be secured or unsecured.
   documents.
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Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising from       Secured claim under 11 U.S.C. §506(a): A claim backed by
the value of any goods received by the Debtor within 20 days       a lien on particular property of the debtor. A claim is secured
before the date of commencement of the above case, in which        to the extent that a creditor has the right to be paid from the
the goods have been sold to the Debtor in the ordinary course      property before other creditors are paid. The amount of a
of the Debtor's business. Attach documentation supporting          secured claim usually cannot be more than the value of the
such claim.                                                        particular property on which the creditor has a lien. Any
                                                                   amount owed to a creditor that is more than the value of the
                                                                   property normally may be an unsecured claim. But exceptions
Creditor: A person, corporation, or other entity to whom a
                                                                   exist; for example, see 11 U.S.C. § 1322(b) and the final
debtor owes a debt that was incurred on or before the date the
                                                                   sentence of 1325(a).
debtor filed for bankruptcy. 11 U.S.C. §101 (10).
                                                                   Examples of liens on property include a mortgage on real
Debtor: A person, corporation, or other entity who is in           estate or a security interest in a car. A lien may be voluntarily
bankruptcy. Use the debtor’s name and case number as shown         granted by a debtor or may be obtained through a court
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).       proceeding. In some states, a court judgment may be a lien.


Evidence of perfection: Evidence of perfection of a security       Setoff: Occurs when a creditor pays itself with money
interest may include documents showing that a security             belonging to the debtor that it is holding, or by canceling a
interest has been filed or recorded, such as a mortgage, lien,     debt it owes to the debtor.
certificate of title, or financing statement.
                                                                   Uniform claim identifier: An optional 24-character identifier
Information that is entitled to privacy: A Proof of Claim          that some creditors use to facilitate electronic payment.
form and any attached documents must show only the last 4
digits of any social security number, an individual’s tax          Unsecured claim: A claim that does not meet the
identification number, or a financial account number, only the     requirements of a secured claim. A claim may be unsecured in
initials of a minor’s name, and only the year of any person’s      part to the extent that the amount of the claim is more than the
date of birth. If a claim is based on delivering health care       value of the property on which a creditor has a lien.
goods or services, limit the disclosure of the goods or
services to avoid embarrassment or disclosure of confidential
health care information. You may later be required to give         Offers to purchase a claim
more information if the trustee or someone else in interest
objects to the claim.                                              Certain entities purchase claims for an amount that is less than
                                                                   the face value of the claims. These entities may contact
                                                                   creditors offering to purchase their claims. Some written
Priority claim: A claim within a category of unsecured claims
                                                                   communications from these entities may easily be confused
that is entitled to priority under 11 U.S.C. §507(a). These
                                                                   with official court documentation or communications from the
claims are paid from the available money or
                                                                   debtor. These entities do not represent the bankruptcy court,
property in a bankruptcy case before other unsecured
                                                                   the bankruptcy trustee, or the debtor. A creditor has no
claims are paid. Common priority unsecured claims
                                                                   obligation to sell its claim. However, if a creditor decides to
include alimony, child support, taxes, and certain unpaid
                                                                   sell its claim, any transfer of that claim is subject to
wages.
                                                                   Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
                                                                   Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
Proof of claim: A form that shows the amount of debt the           the bankruptcy court that apply.
debtor owed to a creditor on the date of the bankruptcy filing.
The form must be filed in the district where the case is
pending.


Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of
Claim form and any attached documents.


Do not file these instructions with your form.
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                    Exhibit C
               Case 23-11161-JKS             Doc 630        Filed 12/20/23        Page 14 of 32



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 Prime Core Technologies Inc., et al.,1                    Case No. 23-11161 (JKS)

                                     Debtors.              (Jointly Administered)


            BALLOT TO ACCEPT OR REJECT THE DEBTORS’ CHAPTER 11 PLAN

                   CLASS 3B: PRIME TRUST GENERAL UNSECURED CLAIMS

  PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING
BALLOTS CAREFULLY BEFORE COMPLETING THIS BALLOT. FOR YOUR VOTE TO BE
COUNTED, THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS
 TO BE ACTUALLY RECEIVED BY THE CLAIMS AGENT BY DECEMBER 5, 2023, AT 4:00
  P.M. (PREVAILING EASTERN TIME) (THE “VOTING DEADLINE”) IN ACCORDANCE
                            WITH THIS BALLOT.

         This ballot (the “Ballot”) is transmitted to you to solicit your vote to accept or reject the plan of
reorganization (the “Plan”) as set forth in the Joint Chapter 11 Plan of Reorganization for Prime Core
Technologies Inc. and Its Affiliated Debtors [Docket No. 258] (as amended, supplemented or otherwise
modified from time to time, according to its terms, the “Plan”) filed by the above-captioned debtors and
debtors in possession (the “Debtors”). The Disclosure Statement Pursuant to Section 1125 of the
Bankruptcy Code with Respect to Joint Chapter 11 Plan of Reorganization for Prime Core Technologies
Inc. and Its Affiliated Debtors [Docket No. 259] (as amended, supplemented or otherwise modified from
time to time, according to its terms, the “Disclosure Statement”) contains disclosures summarizing the
Plan and has been approved on a conditional basis by order of the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) [Docket No. 264] (the “Conditional Approval Order”).2
The Disclosure Statement and the Plan provide information to assist you in deciding how to vote your
Ballot.”).

         If you are a Holder of a Class 3B Claim, this Ballot permits you to cast your vote to accept or
reject the Plan, as well as make the Convenience Class Election.

 THE CHAPTER 11 PLAN CONTAINS THIRD PARTY RELEASES. UNLESS YOU OPT-OUT
   OF THE THIRD-PARTY RELEASES IN ITEM 2 OF THIS BALLOT, YOU AGREE TO
     RELEASE YOUR CLAIMS AGAINST THE RELEASED PARTIES (AS GREATER
                   DESCRIBED BELOW AND IN THE PLAN).



1
          The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
identification number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436);
and Prime Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas,
Nevada 89135.
2
          Capitalized terms not defined herein are defined in the Disclosure Statement, the Plan or the Conditional
Approval Order, as applicable.
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         The Disclosure Statement, the Plan, and Conditional Approval Order are included in the
Solicitation Package accompanying this Ballot. You may also obtain copies from Bankruptcy
Management Solutions, Inc. d/b/a Stretto (“Stretto” or the “Claims Agent”) free of charge (a) by
accessing the Debtors’ restructuring website at
https://cases.stretto.com/primetrust/; (b) by writing to Prime Core Technologies Inc., et al. Claims
Processing Center, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (c) by email at
PrimeCoreInquiries@stretto.com with a reference to “Prime Core Technologies Inc.” in the subject line;
or (d) by telephone at +1-303-536-6996 (International) or 888) 533-4753 (U.S./Canada Toll-Free); or for
a fee via PACER at http://ecf.deb.uscourts.gov.

         If you have any questions on how to properly complete this Ballot, please contact the Claims
Agent by email at PrimeCoreInquiries@stretto.com with a reference to “Prime Core Technologies Inc.
Solicitation” in the subject line; or (d) by telephone at +1-303-536-6996 (International) or (888) 533-4753
(U.S./Canada Toll-Free). Please be advised the Claims Agent cannot provide legal advice.

                                             IMPORTANT

You should carefully review the Disclosure Statement and Plan before you submit this Ballot. You
may wish to seek independent legal advice concerning the Disclosure Statement and Plan and the
classification and treatment of your Class 3B Claim under the Plan.

All Prime Trust General Unsecured Claims against Debtor Prime Trust have been placed in Class
3B under the Plan. If you hold Claims in more than one Class under the Plan, you may receive a
Ballot for each such Class and must complete a separate Ballot for each such Class.

For your vote to be counted, this Ballot must be properly completed, signed, and returned so that it
is actually received by the Claims Agent by no later than the Voting Deadline of December 5, 2023,
at 4:00 p.m. (prevailing Eastern Time), unless such time is extended in writing by the Debtors.

If you wish to return a hard copy of your Ballot, you may return it in the enclosed preaddressed,
postage prepaid envelope or submit it by first class mail, overnight courier or hand delivery to:

                      If by First-Class Mail, Hand Delivery or Overnight Mail:
                                  Prime Core Technologies Inc., et al.
                                       Ballot Processing Center
                                              c/o Stretto
                                       410 Exchange, Suite 100
                                           Irvine, CA 92602

If you would like to coordinate hand delivery of your Ballot, please email
PrimeCoreInquiries@stretto.com at least twenty-four (24) hours in advance and provide the
anticipated date and time of your delivery.

If you prefer to vote online, Ballots will be accepted if properly completed through the E- Ballot
portal maintained by the Claims Agent (the “E-Ballot Portal”). To submit your Ballot via the E-
Ballot Portal, visit https://cases.stretto.com/primetrust/. Click on the “Submit E- Ballot” section of
the Debtors’ website and follow the directions to submit your E-Ballot. If you choose to submit your
Ballot via the E-Ballot Portal, you should not also return a hard copy of your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit your
customized electronic Ballot:
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        Unique E-Ballot Password:

The E-Ballot Portal is the sole manner in which Ballots will be accepted via electronic or online
transmission. Ballots submitted by facsimile, email or other means of electronic transmission will not
be counted.

If your Ballot is not received by the Claims Agent on or before the Voting Deadline, and such Voting
Deadline is not extended by the Debtors, your vote will not be counted.

Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed or that you
will receive a distribution under the Plan. The Debtors reserve all rights to dispute such Claim(s).

HOW TO VOTE (AS MORE FULLY SET FORTH IN THE VOTING INSTRUCTIONS):

1. Complete Item 1.
Review the releases set forth in Item 2 and elect whether to opt out of the releases.

If you wish to make the Convenience Class Election, check the box in Item 4. If you make the Convenience
Class Election, you make this election as to the entire amount of your Class 3B Claims. You may not split
your Class 3B Claims.

Review the information, certifications and acknowledgements contained in Items 3 and 5.

SIGN THE BALLOT.

Return the original signed Ballot in the enclosed pre-addressed, postage-paid envelope, or by first- class
mail, hand delivery, overnight courier, or submit your Ballot through the online E-Ballot portal maintained
by the Claims Agent so that it is actually received by the Claims Agent before the Voting Deadline. Ballots
submitted to the Debtors or any of their agents and advisors (other than the Claims Agent) will not be
counted.

You must vote the full amount of the Claim covered by this Ballot either to accept or to reject the Plan. You
may not split your vote. Any executed Ballot that partially accepts and partially rejects the Plan will not be
counted.

If you hold Claims in more than one Class, you must use separate Ballots for each Class of Claims.

Any executed Ballot received that (a) does not indicate either an acceptance or rejection of the Plan or (b)
indicates both an acceptance and a rejection of the Plan will not be counted.

Any Ballot received that is unsigned, illegible, or otherwise incomplete will not be counted.
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VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF CLASS 3B
                              CLAIMS

     1. This Ballot is transmitted to you to solicit your vote to accept or reject the Plan. PLEASE
        READ THE DISCLOSURE STATEMENT AND PLAN CAREFULLY BEFORE
        COMPLETING THIS BALLOT.
     2. The Plan will be accepted by Class 3B if it is accepted by the Holders of Claims of two-
        thirds in amount and more than one-half in number of Claims in Class 3B that actually vote
        on the Plan. If the Plan is confirmed by the Bankruptcy Court, all Holders (including those
        Holders who abstain from voting or vote to reject the Plan, and those Holders who are not
        entitled to vote on the Plan) will be bound by the confirmed Plan and the transactions
        contemplated thereby.
     3. Complete, sign, and return this Ballot to the Claims Agent so that it is actually received by
        the Claims Agent before December 5, 2023, at 4:00 p.m. (prevailing Eastern Time), the
        Voting Deadline, unless such time is extended in writing by the Debtor.
     4. The Claims Agent’s “E-Ballot Portal” is the sole manner in which Ballots will be accepted
        via electronic or online transmission. Ballots submitted by telecopy, facsimile, email, or other
        electronic means of transmission will not be counted. If voting online, to have your vote
        counted, you must electronically complete, sign, and submit the electronic Ballot by utilizing
        the E-Ballot Portal on the Claims Agent’s website. Your Ballot must be received by the
        Claims Agent no later than the Voting Deadline, unless such time is extended by the Debtors.
        Please visit https://cases.stretto.com/primetrust/. Click on the “Submit E-Ballot” section of
        the Debtors’ website and follow the directions to submit your E-Ballot. If you choose to
        submit your Ballot via the Claims Agent’s E-Ballot system (the “E-Ballot Portal”), you
        should not also return a hard copy of your Ballot.
     5. To properly complete this Ballot, you must follow the procedures described below:
         a.       if you hold a Claim in Class 3B, cast one vote to accept or reject the Plan by
                  checking the appropriate box in Item 1;

          b.      if you are completing this Ballot on behalf of another person or entity, indicate your
                  relationship with such person or entity and the capacity in which you are signing and
                  submit satisfactory evidence of your authority to so act (e.g., a power of attorney or
                  a certified copy of board resolutions authorizing you to so act);

          c.      if you also hold other Claims, you may receive more than one Ballot, labeled for a
                  different Class of Claims and you should separately complete and submit a Ballot
                  for each Class of Claims in which you hold Claims. Your vote will be counted in
                  determining acceptance or rejection of the Plan by each particular Class of Claims
                  only if you complete, sign, and return the Ballot labeled for that Class of Claims in
                  accordance with the instructions on such Ballot;

          d.      provide your name and mailing address on your Ballot;

          e.      sign and date your Ballot, and provide the remaining information requested; and

          f.      return your Ballot using the methods described above.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE AN ELECTRONIC COPY
OF THE DISCLOSURE STATEMENT AND THE PLAN, OR NEED PHYSICAL COPIES OF THE
BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE CLAIMS AGENT
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BY WRITING TO PRIME CORE TECHNOLOGIES INC. BALLOT PROCESSING CENTER,
C/O STRETTO, 410 EXCHANGE, SUITE 100, IRVINE, CA 92602; BY EMAIL AT
PRIMECOREINQUIRIES@STRETTO.COM WITH A REFERENCE TO “PRIME CORE
TECHNOLOGIES INC. SOLICITATION” IN THE SUBJECT LINE; OR BY TELEPHONE AT
+1-303-536-6996 (INTERNATIONAL) OR (888) 533-4753 (U.S./CANADA TOLL-FREE) AND
REQUESTING TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM.

      PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.
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                     PLEASE READ THE VOTING INFORMATION AND
                INSTRUCTIONS ABOVE BEFORE COMPLETING THIS BALLOT.

Item 1. Class Vote. The undersigned, the Holder of a Class 3B Claim against the Debtors hereby votes,
in the amount set forth below, as follows (check one box):

                 Accept the Plan

                                OR

                 Reject the Plan.

                                Voting Amount of Claim:3 $

                                Debtor:

Item 2. Important Information Regarding Releases.

AS A HOLDER OF A CLAIM IN CLASS 3B UNDER THE PLAN, YOU ARE DEEMED TO
PROVIDE THE RELEASES BY HOLDERS OF CLAIMS AND INTERESTS CONTAINED IN
ARTICLE 10.5 OF THE PLAN, WHICH IS ALSO SET FORTH BELOW, UNLESS YOU
CHECK THE OPT OUT BOX DIRECTLY BELOW, OR FILE AN OBJECTION TO THE
RELEASE PROVISIONS OF THE PLAN WITH THE BANKRUPTCY COURT BY
DECEMBER 5, 2023.

The undersigned holder of the Prime Trust General Unsecured Claim in Class 3B set forth in Item 1 elects
to:

                          Opt Out of the Releases by Holders of Claims and Interests.

Your recovery under the Plan remains the same regardless of whether you elect to opt out of giving the
Releases by Holders of Claims and Interests in the Plan.

The following are the Releases by Holders of Claims and Interests set forth in Article 10.5 of the
Plan.

Releases by Holders of Claims and Interests: Except as otherwise expressly set forth in the Plan or
the Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party4 is, and is deemed to
be, hereby conclusively, absolutely, unconditionally, irrevocably and forever, released by each
Releasing Party5 from any and all Causes of Action, other than any 98f Wallet Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
arising, contingent or non-contingent, in law, equity, contract, tort, or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Person would have been legally
entitled to assert (whether individually or collectively), based on or relating to, or in any manner
arising from, in whole or in part, any of the Debtors (including the capital structure, management,

3
          For voting purposes only, subject to tabulation rules.
4
          The list of parties that constitute “Released Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.
5
          The list of parties that constitute “Releasing Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.
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ownership, or operation thereof), any security of any of the Debtors, any of the Reorganized
Debtors, or the Wind-Down Debtor, the subject matter of, or the transactions or events giving rise
to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the assertion or enforcement of rights and remedies
against any of the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance
Actions held by any of the Debtor(s) or their Estates, intercompany transactions between or among
an Debtor and another Debtor, the formulation, preparation, dissemination, negotiation, or Filing
of the Chapter 11 Cases, the Bid Procedures Order, Disclosure Statement, the Plan (including, for
the avoidance of doubt, the Plan Supplement), any Definitive Document, any Plan Document, any
Reorganization Transaction Document, any Sale Transaction Document, any Liquidation
Transaction Document, any Reorganization Transactions, dollarization of Cryptocurrency, any
Reorganization Transactions contemplated by the Plan, any contract, instrument, release, or other
agreement or document created or entered into, whether before or during the Chapter 11 Cases, in
connection with the Filing of the Debtors’ Chapter 11 Cases, the Bid Procedures Order, the
Disclosure Statement, the Plan (including, for the avoidance of doubt, the Plan Supplement), any
Reorganization Transactions, any Definitive Document, any Plan Document, any Reorganization
Transaction Document, any Sale Transaction Document, any Liquidation Transaction Document,
any Reorganization Transactions, dollarization of Cryptocurrency, the solicitation of votes with
respect to the Plan, the pursuit of Confirmation of the Plan, the pursuit of Consummation of the
Plan, and the administration implementation of the Plan. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in this Article 10.5 shall not be construed as (i)
releasing any Released Party from Claims or Causes of Action arising from an act or omission that
is judicially determined by a Final Order to have constituted actual fraud, willful misconduct, or
gross negligence; (ii) releasing any post-Effective Date obligations of or under (A) any party or
Entity under the Plan, (B) any Executory Contract or Unexpired Lease to the extent such
Executory Contract or Unexpired Lease has been assumed by the Debtors pursuant to a Final
Order, or (C) any document, instrument, or agreement executed to implement the Plan; (iii)
releasing any rights to distributions required to be paid or delivered pursuant to the Plan or the
Confirmation Order; (v) releasing or discharging any properly-pled direct claim (other than claims
against the Debtors) held by a creditor that is not a Releasing Party. For the avoidance of doubt, to
the extent that any creditor had a direct claim against a non-Debtor under applicable non-
bankruptcy law (other than a fraudulent transfer claim) prior to the Petition Date, such claim did
not vest in the Debtors on the Petition Date and remains property of such creditor.

Item 3. Certification as to Class 3B Claims held in Additional Accounts. The undersigned hereby
certifies that either (i) it has not submitted any other Ballots for other Class 3B Claims held in other
accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held in other
accounts or other record names, then such Ballots indicate the same vote to accept or reject the Plan.

Item 4. Voluntary Election for Convenience Class Claim Treatment (Optional). You may elect to
have your Class 3B Claim treated as a Class 4 Convenience Claim by making a Convenience Class
Election. If you accept the Convenience Class Election, then you will be deemed to have waived your
Class 3B Claims and instead your Claims shall be converted to a Class 4 Convenience Claim in the
amount of $[●].

The undersigned, a Holder of a Class 3B Claim as set forth in Item 1:
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 ACCEPTS the Convenience Class Election and the conversion of all its Class 3B Claims into a Class 4
Convenience Claim in the amount of $[●].



Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
that: (a) it has been provided with a copy of the Disclosure Statement and Plan, including all exhibits
thereto; (b) the Debtors’ solicitation of votes is subject to all terms and conditions set forth in the
Disclosure Statement and Plan, the Conditional Approval Order, and the procedures for the solicitation
and tabulation of votes to accept or reject the Plan contained in the Conditional Approval Order; (c) it is
the holder of the Claim identified in Item 1 above as of October 6, 2023; and/or (d) it has full power and
authority to vote to accept or reject the Plan and exercise elections with respect thereto. The undersigned
understands that, if this Ballot is validly executed but does not indicate either acceptance or rejection of
the Plan, this Ballot will not be counted.


                                                                        Name of Creditor



                                                                             Signature



                                                             If by Authorized Agent, Name and Title



                                                                             Address



                                                                        Telephone Number



                                                                          Email Address



                                                                         Date Completed

                 PLEASE PROMPTLY RETURN YOUR COMPLETED BALLOT.

   BALLOTS MAY BE SUBMITTED VIA THE E-BALLOT PORTAL, OR IN THE RETURN
           ENVELOPE PROVIDED, OR AS DIRECTED BY THIS BALLOT.

    TO COUNT, A BALLOT WITH YOUR VOTE MUST BE RECEIVED BY THE VOTING
      DEADLINE: DECEMBER 5, 2023, AT 4:00 P.M. (PREVAILING EASTERN TIME).
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This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim or
Interest, or the allowance of a Claim or Interest.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR TO
MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN THE
MATERIALS MAILED WITH THIS BALLOT OR OTHER MATERIALS AUTHORIZED BY
THE BANKRUPTCY COURT.
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                    Exhibit D
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 Prime Core Technologies Inc., et al.,1                    Case No. 23-11161 (JKS)

                                     Debtors.              (Jointly Administered)


             BALLOT TO ACCEPT OR REJECT THE DEBTORS’ CHAPTER 11 PLAN

                                   CLASS 4: CONVENIENCE CLAIMS

  PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING
BALLOTS CAREFULLY BEFORE COMPLETING THIS BALLOT. FOR YOUR VOTE TO BE
COUNTED, THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS
 TO BE ACTUALLY RECEIVED BY THE CLAIMS AGENT BY DECEMBER 5, 2023, AT 4:00
  P.M. (PREVAILING EASTERN TIME) (THE “VOTING DEADLINE”) IN ACCORDANCE
                            WITH THIS BALLOT.

         This ballot (the “Ballot”) is transmitted to you to solicit your vote to accept or reject the plan of
reorganization (the “Plan”) as set forth in the Joint Chapter 11 Plan of Reorganization for Prime Core
Technologies Inc. and Its Affiliated Debtors [Docket No. 258] (as amended, supplemented or otherwise
modified from time to time, according to its terms, the “Plan”) filed by the above-captioned debtors and
debtors in possession (the “Debtors”). The Disclosure Statement Pursuant to Section 1125 of the
Bankruptcy Code with Respect to Joint Chapter 11 Plan of Reorganization for Prime Core Technologies
Inc. and Its Affiliated Debtors [Docket No. 259] (as amended, supplemented or otherwise modified from
time to time, according to its terms, the “Disclosure Statement”) contains disclosures summarizing the
Plan and has been approved on a conditional basis by order of the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) [Docket No. 264] (the “Conditional Approval Order”).2
The Disclosure Statement and the Plan provide information to assist you in deciding how to vote your
Ballot.

 THE CHAPTER 11 PLAN CONTAINS THIRD PARTY RELEASES. UNLESS YOU OPT-OUT
   OF THE THIRD-PARTY RELEASES IN ITEM 2 OF THIS BALLOT, YOU AGREE TO
     RELEASE YOUR CLAIMS AGAINST THE RELEASED PARTIES (AS GREATER
                   DESCRIBED BELOW AND IN THE PLAN).

         The Disclosure Statement, the Plan, and Conditional Approval Order are included in the
Solicitation Package accompanying this Ballot. You may also obtain copies from Bankruptcy
Management Solutions, Inc. d/b/a Stretto (“Stretto” or the “Claims Agent”) free of charge (a) by
accessing the Debtors’ restructuring website at https://cases.stretto.com/primetrust/; (b) by writing to

1
          The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
identification number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436);
and Prime Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas,
Nevada 89135.
2
          Capitalized terms not defined herein are defined in the Disclosure Statement, the Plan or the Conditional
Approval Order, as applicable.


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Prime Core Technologies Inc., et al. Claims Processing Center, c/o Stretto, 410 Exchange, Suite 100,
Irvine, CA 92602; (c) by email at PrimeCoreInquiries@stretto.com with a reference to “Prime Core
Technologies Inc.” in the subject line; or (d) by telephone at +1-303-536-6996 (International) or (888)
533-4753 (U.S./Canada Toll-Free); or for a fee via PACER at http://ecf.deb.uscourts.gov.

         If you have any questions on how to properly complete this Ballot, please contact the Claims
Agent by email at PrimeCoreInquiries@stretto.com with a reference to “Prime Core Technologies Inc.
Solicitation” in the subject line; or (d) by telephone at +1-303-536-6996 (International) or (888) 533-4753
(U.S./Canada Toll-Free). Please be advised the Claims Agent cannot provide legal advice.

                                              IMPORTANT

You should carefully review the Disclosure Statement and Plan before you submit this Ballot. You
may wish to seek independent legal advice concerning the Disclosure Statement and Plan and the
classification and treatment of your Class 4 Claim under the Plan.

All Convenience Claims against Debtor Prime Trust have been placed in Class 4 under the Plan. If
you hold Claims in more than one Class under the Plan, you may receive a Ballot for each such Class
and must complete a separate Ballot for each such Class.

For your vote to be counted, this Ballot must be properly completed, signed, and returned so that it
is actually received by the Claims Agent by no later than the Voting Deadline of December 5, 2023,
at 4:00 p.m. (prevailing Eastern Time), unless such time is extended in writing by the Debtors.

If you wish to return a hard copy of your Ballot, you may return it in the enclosed preaddressed,
postage prepaid envelope or submit it by first class mail, overnight courier or hand delivery to:

                          If by First-Class Mail, Hand Delivery or Overnight Mail:
                                      Prime Core Technologies Inc., et al.
                                           Ballot Processing Center
                                                  c/o Stretto
                                           410 Exchange, Suite 100
                                               Irvine, CA 92602

If you would like to coordinate hand delivery of your Ballot, please email
PrimeCoreInquiries@stretto.com at least twenty-four (24) hours in advance and provide the
anticipated date and time of your delivery.

If you prefer to vote online, Ballots will be accepted if properly completed through the E- Ballot
portal maintained by the Claims Agent (the “E-Ballot Portal”). To submit your Ballot via the E-
Ballot Portal, visit https://cases.stretto.com/primetrust/. Click on the “Submit E- Ballot” section of
the Debtors’ website and follow the directions to submit your E-Ballot. If you choose to submit your
Ballot via the E-Ballot Portal, you should not also return a hard copy of your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit your
customized electronic Ballot:

         Unique E-Ballot Password:

The Claims Agent’s E-Ballot portal is the sole manner in which Ballots will be accepted via electronic
or online transmission. Ballots submitted by facsimile, email or other means of electronic


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transmission will not be counted.

If your Ballot is not received by the Claims Agent on or before the Voting Deadline, and such Voting
Deadline is not extended by the Debtors, your vote will not be counted.

Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed or that you
will receive a distribution under the Plan. The Debtors reserve all rights to dispute such Claim(s).


HOW TO VOTE (AS MORE FULLY SET FORTH IN THE VOTING INSTRUCTIONS):

1. Complete Item 1.

Review the releases set forth in Item 2 and elect whether to opt out of the releases.

If you wish to make opt out of the Class 4 Convenience Claims, check the box in Item 4. If you opt out,
you make this election as to the entire amount of your Class 4 Claims. You may not split your Class 4
Claims

Review the information, certifications and acknowledgements contained in Items 3 and 5.

SIGN THE BALLOT.

Return the original signed Ballot in the enclosed pre-addressed, postage-paid envelope, or by first- class
mail, hand delivery, overnight courier, or submit your Ballot through the online E-Ballot portal maintained
by the Claims Agent so that it is actually received by the Claims Agent before the Voting Deadline. Ballots
submitted to the Debtors or any of their agents and advisors (other than the Claims Agent) will not be
counted.

You must vote the full amount of the Claim covered by this Ballot either to accept or to reject the Plan. You
may not split your vote. Any executed Ballot that partially accepts and partially rejects the Plan will not be
counted.

If you hold Claims in more than one Class, you must use separate Ballots for each Class of Claims.

Any executed Ballot received that (a) does not indicate either an acceptance or rejection of the Plan or (b)
indicates both an acceptance and a rejection of the Plan will not be counted.

Any Ballot received that is unsigned, illegible, or otherwise incomplete will not be counted.




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 VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF CLASS 4
                               CLAIMS

    1. This Ballot is transmitted to you to solicit your vote to accept or reject the Plan. PLEASE READ
       THE DISCLOSURE STATEMENT AND PLAN CAREFULLY BEFORE COMPLETING THIS
       BALLOT.

    The Plan will be accepted by Class 4 if it is accepted by the Holders of Claims of two- thirds in
       amount and more than one-half in number of Claims in Class 4 that actually vote on the Plan. If
       the Plan is confirmed by the Bankruptcy Court, all Holders (including those Holders who abstain
       from voting or vote to reject the Plan, and those Holders who are not entitled to vote on the Plan)
       will be bound by the confirmed Plan and the transactions contemplated thereby.

    Complete, sign, and return this Ballot to the Claims Agent so that it is actually received by the Claims
       Agent before December 5, 2023, at 4:00 p.m. (prevailing Eastern Time), the Voting Deadline,
       unless such time is extended in writing by the Debtor.

    The Claims Agent’s “E-Ballot Portal” is the sole manner in which Ballots will be accepted via
       electronic or online transmission. Ballots submitted by telecopy, facsimile, email, or other
       electronic means of transmission will not be counted. If voting online, to have your vote counted,
       you must electronically complete, sign, and submit the electronic Ballot by utilizing the E-Ballot
       Portal on the Claims Agent’s website. Your Ballot must be received by the Claims Agent no later
       than the Voting Deadline, unless such time is extended by the Debtors. Please visit
       https://cases.stretto.com/primetrust/. Click on the “Submit E-Ballot” section of the Debtors’
       website and follow the directions to submit your E-Ballot. If you choose to submit your Ballot via
       the Claims Agent’s E-Ballot system (the “E-Ballot Portal”), you should not also return a hard
       copy of your Ballot.

    To properly complete this Ballot, you must follow the procedures described below:

         a.        if you hold a Claim in Class 4, cast one vote to accept or reject the Plan by checking the
                   appropriate box in Item 1;

         b.        if you are completing this Ballot on behalf of another person or entity, indicate your
                   relationship with such person or entity and the capacity in which you are signing and
                   submit satisfactory evidence of your authority to so act (e.g., a power of attorney or a
                   certified copy of board resolutions authorizing you to so act);

         c.        if you also hold other Claims, you may receive more than one Ballot, labeled for a
                   different Class of Claims and you should separately complete and submit a Ballot for
                   each Class of Claims in which you hold Claims. Your vote will be counted in
                   determining acceptance or rejection of the Plan by each particular Class of Claims only if
                   you complete, sign, and return the Ballot labeled for that Class of Claims in accordance
                   with the instructions on such Ballot;

         d.        provide your name and mailing address on your Ballot;

         e.        sign and date your Ballot, and provide the remaining information requested; and

         f.        return your Ballot using the methods described above.




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YOU MAY OPT OUT OF CLASS 4 AT ANY TIME PRIOR TO THE VOTING DEADLINE AND
VOTE TO ACCEPT OR REJECT THE PLAN IN CLASS 3A, 3B, 3C, OR 3D, AS APPLICABLE.
SUBSEQUENT BALLOTS YOU SUBMIT WILL SUPERSEDE PRIOR BALLOTS YOU MAY
HAVE SUBMITTED, AND THE LAST IN TIME BALLOT YOU SUBMIT WILL BE INCLUDED
IN THE TABULATION OF VOTES TO ACCEPT OR REJECT THE PLAN.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE AN ELECTRONIC COPY
OF THE DISCLOSURE STATEMENT AND THE PLAN, OR NEED PHYSICAL COPIES OF
THE BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE CLAIMS
AGENT BY WRITING TO PRIME CORE TECHNOLOGIES INC. BALLOT PROCESSING
CENTER, C/O STRETTO, 410 EXCHANGE, SUITE 100, IRVINE, CA 92602; BY EMAIL AT
PRIMECOREINQUIRIES@STRETTO.COM WITH A REFERENCE TO “PRIME CORE
TECHNOLOGIES INC. SOLICITATION” IN THE SUBJECT LINE; OR BY TELEPHONE AT
+1-303-536-6996 (INTERNATIONAL) OR (888) 533-4753 (U.S./CANADA TOLL-FREE) AND
REQUESTING TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM.

          PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.




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                       PLEASE READ THE VOTING INFORMATION AND
                  INSTRUCTIONS ABOVE BEFORE COMPLETING THIS BALLOT.

Item 1. Class Vote. The undersigned, the Holder of a Class 4 Claim against the Debtors hereby votes, in
the amount set forth below, as follows (check one box):

                   Accept the Plan

                                 OR

                   Reject the Plan.

                                 Voting Amount of Claim:3 $

                                 Debtor:

Item 2. Important Information Regarding Releases.

AS A HOLDER OF A CLAIM IN CLASS 4 UNDER THE PLAN, YOU ARE DEEMED TO
PROVIDE THE RELEASES BY HOLDERS OF CLAIMS AND INTERESTS CONTAINED IN
ARTICLE 10.5 OF THE PLAN, WHICH IS ALSO SET FORTH BELOW, UNLESS YOU
CHECK THE OPT OUT BOX DIRECTLY BELOW, OR FILE AN OBJECTION TO THE
RELEASE PROVISIONS OF THE PLAN WITH THE BANKRUPTCY COURT BY
DECEMBER 5, 2023.

The undersigned holder of the Convenience Claim in Class 4 set forth in Item 1 elects to:

                             Opt Out of the Releases by Holders of Claims and Interests.


Your recovery under the Plan remains the same regardless of whether you elect to opt out of giving the
Releases by Holders of Claims and Interests in the Plan.

The following are the Releases by Holders of Claims and Interests set forth in Article 10.5 of the
Plan.

Releases by Holders of Claims and Interests: Except as otherwise expressly set forth in the Plan or
the Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party4 is, and is deemed to
be, hereby conclusively, absolutely, unconditionally, irrevocably and forever, released by each
Releasing Party5 from any and all Causes of Action, other than any 98f Wallet Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
arising, contingent or non-contingent, in law, equity, contract, tort, or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Person would have been legally entitled
to assert (whether individually or collectively), based on or relating to, or in any manner arising from,
in whole or in part, any of the Debtors (including the capital structure, management, ownership, or

3         For voting purposes only, subject to tabulation rules.
4
          The list of parties that constitute “Released Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.
5
          The list of parties that constitute “Releasing Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.


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operation thereof), any security of any of the Debtors, any of the Reorganized Debtors, or the Wind-
Down Debtor, the subject matter of, or the transactions or events giving rise to, any Claim or Interest
that is treated in the Plan, the business or contractual arrangements between any Debtor and any
Released Party, the assertion or enforcement of rights and remedies against any of the Debtors, the
Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions held by any of the Debtor(s)
or their Estates, intercompany transactions between or among an Debtor and another Debtor, the
formulation, preparation, dissemination, negotiation, or Filing of the Chapter 11 Cases, the Bid
Procedures Order, Disclosure Statement, the Plan (including, for the avoidance of doubt, the Plan
Supplement), any Definitive Document, any Plan Document, any Reorganization Transaction
Document, any Sale Transaction Document, any Liquidation Transaction Document, any
Reorganization Transactions, dollarization of Cryptocurrency, any Reorganization Transactions
contemplated by the Plan, any contract, instrument, release, or other agreement or document created
or entered into, whether before or during the Chapter 11 Cases, in connection with the Filing of the
Debtors’ Chapter 11 Cases, the Bid Procedures Order, the Disclosure Statement, the Plan (including,
for the avoidance of doubt, the Plan Supplement), any Reorganization Transactions, any Definitive
Document, any Plan Document, any Reorganization Transaction Document, any Sale Transaction
Document, any Liquidation Transaction Document, any Reorganization Transactions, dollarization
of Cryptocurrency, the solicitation of votes with respect to the Plan, the pursuit of Confirmation of
the Plan, the pursuit of Consummation of the Plan, and the administration implementation of the
Plan. Notwithstanding anything to the contrary in the foregoing, the releases set forth in this
Article 10.5 shall not be construed as (i) releasing any Released Party from Claims or Causes of
Action arising from an act or omission that is judicially determined by a Final Order to have
constituted actual fraud, willful misconduct, or gross negligence; (ii) releasing any post-Effective Date
obligations of or under (A) any party or Entity under the Plan, (B) any Executory Contract or
Unexpired Lease to the extent such Executory Contract or Unexpired Lease has been assumed by the
Debtors pursuant to a Final Order, or (C) any document, instrument, or agreement executed to
implement the Plan; (iii) releasing any rights to distributions required to be paid or delivered
pursuant to the Plan or the Confirmation Order; (v) releasing or discharging any properly-pled
direct claim (other than claims against the Debtors) held by a creditor that is not a Releasing Party.
For the avoidance of doubt, to the extent that any creditor had a direct claim against a non-Debtor
under applicable non-bankruptcy law (other than a fraudulent transfer claim) prior to the Petition
Date, such claim did not vest in the Debtors on the Petition Date and remains property of such
creditor.

Item 3. Certification as to Class 4 Claims held in Additional Accounts. The undersigned hereby
certifies that either (i) it has not submitted any other Ballots for other Class 4 Claims held in other
accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held in other
accounts or other record names, then such Ballots indicate the same vote to accept or reject the Plan.

Item 4. Voluntary Election to Opt-Out of Class 4 Convenience Class. You may elect to have your
Class 4 Convenience Claim treated as a Class 3A, Claim Class 3B Claim, Class 3C Claim, or Class 3D
Claim, as applicable, by making opting out of Class 4. By checking the box below, you will be deemed to
have waived your Class 4 Convenience Claim and instead your Claims shall be converted to a Class 3A
Prime Core General Unsecured Claim, Class 3B Prime Trust General Unsecured Claim, Claim Class 3C
Prime IRA General Unsecured Claim, or Class 3D Prime Digital General Unsecured Claim.

The undersigned, a Holder of a Class 4 Claim as set forth in Item 1:

 OPTS OUT of its Class 4 Convenience Claim and such claim is converted to a Class 3A Prime Core
General Unsecured Claim, Class 3B Prime Trust General Unsecured Claim, Claim Class 3C Prime IRA
General Unsecured Claim, or Class 3D Prime Digital General Unsecured Claim.


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Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
that: (a) it has been provided with a copy of the Disclosure Statement and Plan, including all exhibits
thereto; (b) the Debtors’ solicitation of votes is subject to all terms and conditions set forth in the
Disclosure Statement and Plan, the Conditional Approval Order, and the procedures for the solicitation
and tabulation of votes to accept or reject the Plan contained in the Conditional Approval Order; (c) it is
the holder of the Claim identified in Item 1 above as of October 6, 2023; and/or (d) it has full power and
authority to vote to accept or reject the Plan and exercise elections with respect thereto. The undersigned
understands that, if this Ballot is validly executed but does not indicate either acceptance or rejection of
the Plan, this Ballot will not be counted.


                                                                        Name of Creditor



                                                                             Signature



                                                             If by Authorized Agent, Name and Title



                                                                             Address



                                                                        Telephone Number



                                                                          Email Address



                                                                         Date Completed




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                    PLEASE PROMPTLY RETURN YOUR COMPLETED BALLOT.

    BALLOTS MAY BE SUBMITTED VIA THE E-BALLOT PORTAL, OR IN THE RETURN
            ENVELOPE PROVIDED, OR AS DIRECTED BY THIS BALLOT.

     TO COUNT, A BALLOT WITH YOUR VOTE MUST BE RECEIVED BY THE VOTING
       DEADLINE: DECEMBER 5, 2023, AT 4:00 P.M. (PREVAILING EASTERN TIME).

This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim or
Interest, or the allowance of a Claim or Interest.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR TO
MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN THE
MATERIALS MAILED WITH THIS BALLOT OR OTHER MATERIALS AUTHORIZED BY
THE BANKRUPTCY COURT.




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